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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )              4:09CR3044
                Plaintiff,               )
                                         )
     vs.                                 )             ORDER
                                         )
JOSH BAKER,                              )
                                         )
                Defendant.               )



      The court has been presented a Financial Affidavit (CJA Form
23) signed by the above-named defendant in support of a request for
appointed counsel. After a review of the Financial Affidavit, I
find that the above-named defendant is eligible for appointment of
counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and
the Amended Criminal Justice Act Plan for the District of Nebraska.

      IT THEREFORE HEREBY IS ORDERED that Gregory C. Damman is
appointed as attorney of record for the above-named defendant.

      IT IS FURTHER ORDERED that the Federal Public Defender's
Office shall forthwith provide counsel with a draft appointment
order (CJA Form 20) bearing the name and other identifying
information of the CJA Panel attorney identified in accordance
with the Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of
this order to the Federal Public Defender and the defendant’s
attorney.

     DATED April 30, 2009.

                                    BY THE COURT

                                    s/David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
